Case 1:16-cr-00036-PLM           ECF No. 154, PageID.389           Filed 07/22/16      Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                             Case No. 1:16-CR-36

v.                                                    Hon. Paul L. Maloney

CENON AGRIPIN GARCIA-RODRIGUEZ,

               Defendant.
                                              /

                            REPORT AND RECOMMENDATION

               Pursuant to W.D. Mich. LCrR 11.1 and upon a request of the district court, I

conducted a felony plea hearing in this matter on July 22, 2016, after receiving the written consent

of the defendant, the defendant's attorney, and the attorney for the government. These consents were

also placed on the record in open court.

               Defendant Cenon Agripin Garcia-Rodriguez is charged in Count 1 of a Second

Superseding Indictment with conspiracy to possess and distribute and possess with intent to

distribute cocaine and heroin. On the basis of the record made at the hearing, I found that defendant

was competent to enter a plea of guilty and that the plea was knowledgeable and voluntary with a

full understanding of each of the rights waived by the defendant, that the defendant fully understood

the nature of the charge and the consequences of the plea, and that the defendant's plea had a

sufficient basis in fact which contained all of the elements of the offense charged.

               I also inquired into the plea agreement. I found the plea agreement to have been

knowingly and voluntarily made and found that it fully reflected all of the promises made by the


                                                  1
Case 1:16-cr-00036-PLM            ECF No. 154, PageID.390            Filed 07/22/16      Page 2 of 2




parties.

                Accordingly, I accepted the plea of guilty, subject to final acceptance of the plea by

the District Judge, and I specifically reserved acceptance of the plea agreement for the District Judge.

I ordered the preparation of a presentence investigation report.

                                          Recommendation

                Based upon the foregoing, I respectfully recommend that the defendant's plea of guilty

to Count 1 of the Second Superseding Indictment be accepted, that the court adjudicate the defendant

guilty of that charge, and that the written plea agreement be accepted at, or before, the time of

sentencing.



Dated: July 22, 2016                            /s/ Ray Kent
                                                RAY KENT
                                                United States Magistrate Judge




                                      NOTICE TO PARTIES

                You have the right to de novo review by the district judge of the foregoing findings.
Any application for review must be in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than fourteen (l4) days after the plea
hearing. See W.D. Mich. LCrR 11.1(b). A failure to file timely objections may result in the waiver
of any further right to seek appellate review of the plea-taking procedure. See Thomas v. Arn, 474
U.S. 140 (1985); Neuman v. Rivers, 125 F.3d 315, 322-23 (6th Cir.), cert. denied, 522 U.S. 1030
(1997); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




                                                   2
